                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                            INFORMATION

DESIGNATION FORM to be used by counsel to indicate the category of the case for the
purpose of assignment to appropriate calendar.
Address of Plaintiff: 615 Chestnut Street, Suite 1250, Philadelphia, PA 19106-4476

Post Office: Philadelphia                                 County:     Philadelphia

City and State of Defendant:       Philadelphia, PA

County:     Philadelphia                 Register number: N/A

Place of accident, incident, or transaction:              Eastern District of Pennsylvania

Post Office: EDPA                                         County:     EDPA
RELATED CASE, IF ANY:

Criminal cases are deemed related when the answer to the following question is Ayes@.

         Does this case involve a defendant or defendants alleged to have participated in the same
         action or transaction, or in the same series of acts or transactions, constituting an offense
         or offenses?

         YES/NO: NO

     Case Number: N/A                      Judge: N/A
CRIMINAL: (Criminal Category - FOR USE BY U.S. ATTORNEY ONLY)
1.                  Antitrust
2.                  Income Tax and other Tax Prosecutions
3.                  Commercial Mail Fraud
4.                  Controlled Substances
5.                 Violations of 18 U.S.C. Chapters 95 and 96 (Sections 1951-55 and 1961-68)
                 and Mail Fraud other than commercial
6.                  General Criminal
     15 U.S.C. §§ 78j(b), 78ff, and 17 C.F.R. §§ 240.10b-5 and 240.10b5-2 (securities fraud - 1 count);
                                            Notice of Forfeiture


DATE: June 13, 2022                              /s/ Patrick J. Murray
                                                 Patrick J. Murray
                                                 Assistant United States Attorney
File No. 2021R000595
U.S. v. David Roda
